Filed 10/07/19                                                                                       Case 19-21640                                                    Doc 129



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                                                                   Peter Cianchetta, SBN: 220971
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                                                                   CIANCHETTA & ASSOCIATES
                                                              3    8788 Elk Grove Blvd., Suite 2A
                                                                   Elk Grove, California 95624
                                                              4    Ph: (916) 685-7878
                                                                   plc@eglaw.net
                                                              5
                                                                   Attorney for Deborah Leigh Miller-Zuranich
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                                                              7                          UNITED STATES BANKRUPTCY COURT

                                                              8                            EASTERN DISTRICT OF CALIFORNIA

                                                              9        In re:                                         Case No. 2019-21640
                                                              10
                                                                       Deborah Leigh Miller-Zuranich,                 Chapter 11
   CIANCHETTA & ASSOCIATES




                                                              11
                                                                                                       Debtor         Hearing Date: October 8, 2019
                             8788 Elk Grove Blvd., Suite 2A




                                                              12
                                                                                                                      Hearing Time: October 8, 2019
                                 Elk Grove, CA 95624




                                                              13                                                      Hon. Christopher D. Jaime
                                                              14
                                                                                                                      Courtroom 32 - Dept B

                                                              15
                                                                                                PRELIMINARY STATUS REPORT
                                                              16
                                                                   History of the Debtor
                                                              17
                                                                   Debtor is an individual that had been ill for the past two years, the assets in distress are jointly
                                                              18
                                                                   held with her siblings, from their Father’s Trust upon his passing. Both properties were old
                                                              19
                                                                   and had not been updated to current standards, the Oakland Proerty was in need of much
                                                              20
                                                                   cleanup to make it marketable.
                                                              21
                                                                   Type of Plan
                                                              22
                                                                   The Plan will liquidate one property, Oakland, and reorganize through refinancing the Tahoe
                                                              23
                                                                   property.
                                                              24
                                                                   Cramdown
                                                              25
                                                                   None.
                                                              26
                                                                   Valuation of Assets
                                                              27
                                                                   No disputes.
                                                              28

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Filed 10/07/19                                                                                        Case 19-21640                                              Doc 129



                                                              1
                                                                   Cash Collateral and Adequate Protection
                                                              2
                                                                   Debtor has attempted to negotiate Cash Collateral Agreements with the Creditors but has not
                                                              3
                                                                   had any success, debtor anticipates bringing cash collateral motions.
                                                              4
                                                                   Adversary Proceedings
                                                              5
                                                                   None anticipated.
                                                              6
                                                                   Environmental Issues
                                                              7
                                                                   None
                                                              8
                                                                   Objections to Claims
                                                              9
                                                                   Unknown at this time if any claims will be objected to, likely not.
                                                              10
                                                                   Post-confirmation sale of assets
   CIANCHETTA & ASSOCIATES




                                                              11
                                                                   None anticipated.
                             8788 Elk Grove Blvd., Suite 2A




                                                              12
                                                                   Anticipated Professional Fees
                                 Elk Grove, CA 95624




                                                              13
                                                                   Peter Cianchetta, Attorney, $25,000.
                                                              14
                                                                   Stanley Cornelious, Realtor, $19,000.
                                                              15
                                                                   Small Business Debtor
                                                              16
                                                                   Debtor is not a small business debtor, unsecured creditors are minimal.
                                                              17

                                                              18
                                                                   Respectfully submitted on October 7, 2019, Cianchetta & Associates
                                                              19
                                                                                                                /s/ Peter Cianchetta_________
                                                              20                                                Peter Cianchetta, Attorney for
                                                                                                                Deborah Leigh Miller-Zuranich
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